                                                  U.S. Department of Justice


                                                  United States Attorney
                                                  Eastern District of New York

SPN/MKM/KDE                                       271 Cadman Plaza East
F. #2015R00707                                    Brooklyn, New York 11201


                                                  November 20, 2018


By ECF, Email and Hand

The Honorable Pamela K. Chen
United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. Eduardo Li
                     Criminal Docket No. 15-252 (S-1) (PKC)

Dear Judge Chen:

               The government respectfully writes in reference to the transcript of defendant
Eduardo Li’s sentencing on November 13, 2018, which the Court sealed pending an
application by the government to publicly release a redacted version of the transcript. The
government hereby requests that the transcript be unsealed with the redactions proposed in
the attachment hereto. The government respectfully submits that the proposed, limited
redactions are necessary for the reasons set forth on the record during the November 13,
2018 sentencing. The government has conferred with counsel for defendant Li, who has
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no objection to the unsealing of the transcript with the proposed redactions. If the Court
grants the government’s request, the government will publicly file the redacted version of the
transcript on ECF.


                                                  Respectfully submitted,

                                                  RICHARD P. DONOGHUE
                                                  United States Attorney

                                           By:     /s/
                                                  Samuel P. Nitze
                                                  M. Kristin Mace
                                                  Keith D. Edelman
                                                  Assistant U.S. Attorneys
                                                  718-254-7000

Encl. (by E-mail and Hand)

cc:    Clerk of Court (PKC) (by ECF)
       Defense Counsel (by ECF)
